 

United States Courts
Southern District of Texas

FILED
United States Court of Appeals — July 14, 2021
FIFTH CIRCUIT
OFFICE OF THE CLERK Nathan Ochsner, Clerk of Court
LYLE W. CAYCE TEL. 504-310-7700
CLERK 600 S. MAESTRI PLACE,
Suite 115

NEW ORLEANS, LA 70130

July 14, 2021

Ms. Lanie Smith

U.S. District Court
Southern District of Texas
515 Rusk Street

Room 8004

Houston, TX 77002

No. 21-20311 Bridges v. Houston Methodist Hosp
USDC No. 4:21-CV-1774

Dear Ms. Smith,

We have not received your acknowledgment of the enclosed purchase
order for the transcript in this case. We assume the appellant
has made the necessary financial arrangements for preparing the
transcript. You have 30 days from the date we received the
purchase order to file the transcript with the district court
clerk. We will adjust this time only in the event financial
arrangements are not complete.

Sincerely,

LYLE W. CAYCE, Clerk
Chustna Racha 2
By:

Christina C. Rachal, Deputy Clerk
504-310-7651

 

Enclosure (s)

cc:
Mr. Nathan Ochsner
Mr. Daniel F. Patton
Ms. Constance Hankins Pfeiffer
Ms. Jill Schumacher
Mr. Michael W. Twomey
Mr. Jared Ryker Woodfill V
 

 

District Court Southern District of Texas District Court Docket No. 4:21-CV-1774

Short Case Title Bridges, et al v. Houston Methodist Hospital et al

ONLY ONE COURT REPORTER PER FORM Court Reporter Lanie Smith

 

Date Notice of Appeal Filed in the District Court 96/14/2021 Court of Appeals No. 21-20311

PART I. (To be completed by party ordering transcript. Do not complete this form unless financial arrangements have been made, see
instructions on page 2.)

A. Complete the Following:

CINo hearings OTranscript is unnecessary for appeal purposes LITranscript is already on file in the Clerk’s Office.

OR

Check all of the following that apply, include date of the proceeding.

This is to order a transcript of the following proceedings: (Bail Hearing CVoir Dire
COpening Statement of Plaintiff [JOpening Statement of Defendant
OClosing Argument of Plaintiff OClosing Argument of Defendant:
Li Opinion of court Jury Instructions CSentencing

Other not listed above:

     

Date(s Ju istrate
06/11/2021 Motion Hearing . Judge Lynn N Hughes

Failure to specify in adequate detail those proceedings to be transcribed, or failure to make prompt satisfactory
financial arrangements for transcript, are grounds for DISMISSAL OF APPEAL.

B. This is to certify satisfactory financial arrangements have been made. Method of Payment:

OPrivate Funds; OCriminal Justice Act Funds (Enter Authorization-24 via eVoucher);

OOther IFP Funds; (Advance Payment Waived by Reporter; U.S. Government Funds

mOther _ arrangements made per email correspondence with L. Smith on 6/21

 

Signature ‘s/ Jill Schumacher Date Transcript Ordered 06/24/2021

Print Name sill Schumacher Phone 713-917-0024

Counsel for Piaintiffs-Appellants (Jennifer Bridges; Bob Nevens, Maria Trevino, Ricardo Zelante; Latricia Blank; et al,)

 

Address 8363 Woodway Ste 700, Houston, TX 77057

 

Email of Attorney: jilian@dtlawyers.com

PART II. COURT REPORTER ACKNOWLEDGMENT (To be completed by the court reporter and filed with the Court of
Appeals within 10 days after receipt. Read instructions on page 2 before completing.)

Date Transcript Order Date Satisfactory Arrangements Estimated Completion Date | Estimated Number of
Received for Payment were Made Pages

 

 

 

 

 

 

 

 

Payment arrangements have NOT been made or are incomplete.

Reason: ODeposit not received (Unable to contact ordering party L.Awaiting creation of CJA 24 eVoucher
COther (Specify)

 

Date Signature of Reporter Tel.

Email of Reporter

Part III. NOTIFICATION THAT TRANSCRIPT HAS BEEN FILED IN THE DISTRICT COURT (To be completed by
court reporter on date of filing transcript in the District Court. This completed form is to be-filed with the Court of Appeals.)

 

This is to certify that the transcript has been completed and filed at the District Court today.
Actual Number of Pages Actual Number of Volumes

Date Signature of Reporter

 
